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           EXHIBIT E
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October 18, 2018                                             Via email and regular mail

Jack Witt
Vice President for Human Resources
Kent State University
PO Box 5190
Kent, OH 44242-0001
fjwitt@kent.edu

Dear Mr. Witt:

The Liberty Justice Center has been retained by Annamarie Hannay, John Kohl, and
Adda Gape, who are employed by Kent State University.

Our clients seek to resign from the union, AFSCME Local 153, but have been told that
they may not do so until the expiration of the contract in October 2019. Our clients have
also requested that the University stop withholding union dues from their paycheck, but
have been told that the University will not do so unless instructed to do so by the union.

However, the University’s position and its actions to continue to withhold union dues
from our clients’ paychecks is inconsistent with the U.S. Supreme Court’s decision in
Janus v. AFSCME, 138 S. Ct. 2448 (2018). In that case, the Court determined that a
government employee cannot be required to pay any dues or fees to a union to maintain
his/her job. The Court made it clear that workers must opt into union membership.

Any previous authorizations of membership and/or the deduction of dues or fees signed
by an employee, like our clients, are invalid because they were based on an
unconstitutional choice: pay dues to a union and become a member, or pay fees to a
union as a nonmember. I have enclosed with this letter a legal analysis explaining why
government employees in agency fee jurisdictions who signed union dues membership
and/or dues deductions authorizations before the Court’s decision in Janus v. AFSCME
on June 27, 2018 cannot be held to the provisions of those authorizations that prevent
those employees from immediately resigning from the union and/or require such
employees to continue to pay any dues or fees to the union.

Therefore, you are no longer authorized to enforce any authorization our clients may have
apparently given pursuant to a signed authorization form, or any authorization that the
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University has inferred on our clients’ behalf, allowing it to make an automatic payroll
deduction for union dues or fees.

Because such authorizations are invalid, the University may not defer to the union to
determine whether it may stop withholding union dues or fees, and may not require the
union to consent before stopping to withhold union dues or fees from an employee. In
addition, because the right not to join or pay a union as a condition of one’s employment
with a governmental entity is based on the First Amendment to the United States
Constitution, any union contract or agreement that requires the University to defer to, or
obtain consent from, the union before stopping the withholding of fees from an employer
is unconstitutional, and therefore invalid.

Further, as explained in the enclosed legal analysis, any restriction on the timing of
revoking a dues/fees deduction is invalid because any previous authorization was signed
under a framework Janus declared unconstitutional.

Thus, any further collection of dues or fees will constitute a violation of our clients’
rights under the U.S. Constitution.

I request that you immediately stop withholding union dues or fees from our clients’
paychecks, return any dues withheld from their paychecks after June 27, 2018, and
provide confirmation that you have done so.

If you fail to stop withholding union dues or fees from our clients’ paychecks, we will
consider that a rejection of this request. If you reject our request, they have authorized us
to take legal action against you. If we take legal action against you for violating our
clients’ constitutional rights, we will seek an injunction preventing you from withholding
dues from their paychecks, damages for the amount of dues you withheld, and
reimbursement of our attorneys’ fees from you.

We hope that this matter can be resolved without litigation. If you have any questions,
please contact me.

Sincerely,



Jeffrey Schwab
Senior Attorney

cc: Karen Watson (kswatson@kent.edu, email only)
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Are union membership and/or dues or fees deduction authorizations signed in agency fee
jurisdictions before Janus v. AFSCME effective?

No. Any authorizations of membership and/or the deduction of dues or fees signed prior to Janus
are invalid because they were based on an unconstitutional choice: pay dues to the union as a
member, or pay fees to the union as a nonmember. Therefore, government employees in agency
fee jurisdictions who signed union membership and/or dues/fees deduction authorizations before
the Court’s decision in Janus v. AFSCME on June 27, 2018 cannot be held to the provisions of
those authorizations. This includes but is not limited to provisions preventing those employees
from immediately resigning from the union and/or requiring such employees to continue to pay
any dues or fees to the union, commonly referred to as opt-out windows.

In Janus v. AFSCME, Council 31, 138 S. Ct. 2448 (2018), the Supreme Court held that it was
unconstitutional for government employers to compel employees to pay union agency fees as a
condition of their employment. The Court held that government employees have a First
Amendment right not be compelled by their government employer to join a union or pay any fees
to that union.

The Court in Janus explained that payment to a union could be deducted from a nonmember’s
wages if that employee “affirmatively consents” to pay.

       Neither an agency fee nor any other payment to the union may be deducted from a
       nonmember’s wages, nor may any other attempt be made to collect such a
       payment, unless the employee affirmatively consents to pay. By agreeing to pay,
       nonmembers are waiving their First Amendment rights, and such a waiver cannot
       be presumed. Rather, to be effective, the waiver must be freely given and shown
       by “clear and compelling” evidence. Unless employees clearly and affirmatively
       consent before any money is taken from them, this standard cannot be met.

Janus, 138 S. Ct. at 2486 (citations omitted).

Supreme Court precedent provides that certain standards be met in order for a person to properly
waive their constitutional rights. First, waiver of a constitutional right must be of a “known right
or privilege.” Johnson v. Zerbst, 304 U.S. 458, 464 (1938). Second, the waiver must be freely
given; it must be voluntary, knowing, and intelligently made. D. H. Overmyer Co. v. Frick Co.,
405 U.S. 174, 185-86 (1972). Finally, the Court has long held that it will “not presume
acquiescence in the loss of fundamental rights.” Ohio Bell Tel. Co. v. Public Utilities Comm’n,
301 U.S. 292, 307 (1937).
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Deductions authorized by government employees in agency fee jurisdictions prior to the Court’s
decision in Janus do not meet the Court’s standard for waiving constitutional rights and therefore
are invalid.

Known Right or Privilege

The Supreme Court has held that waiver of a constitutional right must be of a “known right or
privilege,” Curtis Publishing Co. v. Butts, 388 U.S. 130, 143 (1967) (plurality opinion). Prior to
the Court’s decision in Janus, public employees could not have known that they were waiving a
constitutional right because the Court did not officially recognize the right to not pay any dues or
fees to a government union until it announced its decision.

Nor can public employees have been presumed to have waived their constitutional right to not be
forced to pay a union. Any argument that they should have seen “the handwriting on the wall,”
Curtis Publishing, 338 U.S. at 143, in the Court’s other decisions expressing “misgivings about
Abood,” Janus, 138 S. Ct. 2484, is inapposite. The Court rejected a similar assertion in Curtis
Publishing, in which the plaintiff argued a defendant waived his constitutional right by not
asserting it prior to a subsequent Supreme Court decision recognizing that right. Even where
there were “intimations in a prior opinion” indicating that the Court might recognize such a right,
there was also “strong precedent” finding no such rights in the situation before the Court.
Therefore, the Curtis Publishing Court rejected the argument that the defendant waived his
constitutional right because he should have known that he had such a constitutional right even
before the Supreme Court issued an opinion recognizing the right.

Voluntary, knowing, and intelligently made.

The Court in Janus stated that the waiver of an employee’s First Amendment right to not pay a
union must be “freely given.” This requires that such a waiver be voluntary, knowing, and
intelligently made. D. H. Overmyer Co. v. Frick Co., 405 U.S. 174, 185-86 (1972). An employee
could not have voluntarily entered into a dues/fees deduction agreement before Janus in agency
fee states because that employee did not have the option of not paying money to the union during
that time. Such dues/fees deduction agreements were not freely made because the employees had
no choice but to pay the union. And because the Court will not presume the acquiescence of the
loss of constitutional rights, it cannot be presumed that these employees freely, knowingly, or
intelligently entered into these union deduction authorizations, even if some of the employees
might have been willing to agree to pay dues or fees absent the agency fee requirement.

Clear and compelling evidence

Because the Court will “not presume acquiescence in the loss of fundamental rights,” Ohio Bell
Tel. Co. v. Public Utilities Comm’n, 301 U.S. 292, 307 (1937), the waiver of constitutional rights
requires “clear and compelling evidence” that the employees wish to waive their First
Amendment right not to pay union dues or fees. Janus, 138 S. Ct. 2484. In addition, “[c]ourts
indulge every reasonable presumption against waiver of fundamental constitutional rights.”
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College Savings Bank v. Fla. Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666 (1999)
(citing Aetna Ins. Co. v. Kennedy ex rel. Bogash, 301 U.S. 389, 393 (1937)).

The First Amendment right of free speech, which the Court based its decision upon in Janus, is a
fundamental right. Schneider v. New Jersey, 308 U.S. 147, 161 (1939).

The Court made clear in Janus that consent for the deduction of union dues or fees is not
constitutional unless a waiver of First Amendment rights is “freely given” and “clear and
compelling.” That waiver cannot be presumed.

As already explained, any previous dues/fees authorizations were based on an unconstitutional
choice: pay dues to the union as a member, or pay fees to the union as a nonmember. As such,
union dues/fees deduction authorizations executed prior to Janus were not freely given.

Furthermore, any union dues/fees deduction authorizations executed prior to Janus fail to
provide a clear and compelling waiver of an employee’s First Amendment rights because they
lack express language stating 1) the employee has a constitutional right not to pay a union and 2)
the employee is waiving that constitutional right.

Without language explaining that an employee has a constitutional right not to pay a union and
confirming that the signatory is waiving his or her constitutional rights, a union dues/fees
deduction authorization signed by an employee cannot be a clear and compelling waiver of an
employee’s rights under Janus.

Union dues deduction authorization forms signed by government employees before Janus cannot
meet the standards set forth for waiving a constitutional right. Therefore, government employers
in states that were considered agency fee jurisdictions prior to Janus may not continue to deduct
any dues or fees from government employees based on dues deduction authorizations signed
prior to Janus.


                                                     Sincerely,



                                                     Jeffrey Schwab
                                                     Senior Attorney
